  Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 1 of 7 PageID #:1




                 „IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
Varren King                           )
                                      )
                    Plaintiff,        )
                                      )    21-cv-
                -vs-                  )
                                      )
Thomas Dart, Sheriff of Cook          )
County, Correctional Officer R. Szul, )
and Cook County, Illinois,            )
                                      )
                    Defendants.       )

       Plaintiff Varren King, by counsel, alleges as follows:

       1.      This is a civil action arising under 42 U.S.C. § 1983. The

jurisdiction of this Court is conferred by 28 U.S.C. § 1343.

       2.      Plaintiff Varren King is a resident of the Northern District of Illinois

presently detained at the Cook County Jail. The Sheriff‟s records show plaintiff

was processed into the Jail on June 22, 2017 under booking number 2017-

0622020.

       3.      Defendant Thomas Dart is the Sheriff of Cook County. Plaintiff

sues Dart in his official capacity only.

       4.      Defendant Correctional Officer D. Szul (star #17162), at all

relevant times, was employed by the Sheriff‟s Office and was assigned as the

“tier officer” for Tier 3H in Division 9 on March 29, 2019 on the 3:00 pm to 11:00

pm shift. He is sued in his individual capacity.

       5.      Defendant Cook County is joined in this action pursuant to Carver

v. Sheriff of LaSalle County, 324 F.3d 947 (7th Cir. 2003), and is responsible for

allocating funds for the Sheriff‟s budget.
  Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 2 of 7 PageID #:2




       6.       The Sheriff‟s Office has known since at least 2017 that Division 9

is one of the most dangerous divisions at the Jail. It holds maximum security

detainees and there have been systemic barriers staffing the division.

       7.       In 2017 the Sheriff‟s Office issued a Staffing Analysis explaining:

       Division 9 has more batteries to staff, masturbators, and use of
       force than any other divisions. It is one of the least-coveted
       divisions to work in so many of its staff have little seniority and are
       inexperienced. Mandated overtime is more common in Division 9
       than any other division.

       8.       At all times relevant defendant Cook County has refused to

allocate sufficient funds for defendant Sheriff to adequately staff Division 9. The

grossly deficient staffing leaves the Sheriff‟s Office unable to adequately

supervise detainees.

       9.       For example, the “tier officer” is required to conduct a “30-minute

security check” pursuant to Sheriff‟s policy. This requires the officer to inspect

the tier, make sure cell doors are locked, and inspect the bathroom. A “tier

officer” must have a backup officer present to conduct a “security check.”

       10.      Inmates face unnecessary danger if a “security check” is not

conducted.

       11.      Because of grossly deficient staff it is common in Division 9 for a

“tier officer” to recruit another “tier officer” to serve as backup for the “security

check.” This causes a huge gap in security because it is very dangerous when

Division 9 inmates are in the dayroom unsupervised by the “tier officer.”

       12.      Indeed, the Sheriff‟s formal policy requires a “tier officer” to

perform “direct supervision” when inmates are in the dayroom.
  Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 3 of 7 PageID #:3




       13.      It is common in Division 9 for 20 to 40 maximum security inmates

to be unsupervised in the dayroom for a prolonged period of time when the “tier

officer” leaves to serve as backup so that another “tier officer” is able to perform

a “security check.” Between 2017 and 2019 there have been many occasions

when inmates are seriously injured when the “tier officer” leaves the tier

unsupervised.

       14.      The Sheriff and Cook County are aware of this gap in security and

that inmates have been seriously injured because of Chew-Harris v. Dart, 17-cv-

4958, where an inmate was seriously injured on May 16, 2017 when the “tier

officer” left the tier unsupervised to serve as backup for another “tier officer” to

conduct a “security check.”

         I.   Claims against defendant Szul

       15.      As the “tier officer” for 3H on March 29, 2019, defendant Szul was

responsible for the safety and security of all inmates assigned to Tier 3H.

       16.      Defendant Szul knew as the 3H “tier officer” he was required to

perform “direct supervision” when inmates were in the dayroom.

       17.      At all relevant times, defendant Szul knew that leaving Tier 3H

without relief would expose all inmates to an unreasonable risk of harm. He also

knew it was particularly dangerous to leave 39 maximum security inmates in the

dayroom unsupervised.

       18.      At approximately 5:50 pm defendant Szul left his post as the 3H

“tier officer” to provide backup for the 3G “tier officer.” All 39 inmates were in the

dayroom and knew the tier was unsupervised because it was obvious no officer
  Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 4 of 7 PageID #:4




was stationed at the officer‟s post.

       19.      At approximately 5:51 pm an inmate strikes plaintiff in the face in

the dayroom of Tier 3H. This should have been observed by the 3H “tier officer”

if he (or she) was directly supervising the tier.

       20.      At approximately 5:58 pm the plaintiff is next to the microwave

directly in front of the post for the 3H “tier officer.” While plaintiff prepared food,

the attack continues when the same inmate threw boiling water on plaintiff‟s

body. A screen shot of this incident is below:




       21.      Defendant Szul returns to Tier 3H at about 6:22 pm and begins

locking up some detainees. Plaintiff told Defendant Szul that he required medical

attention because of severe burns and that he was in extreme pain.

       22.      Although defendant Szul had the ability to facilitate medical

attention for plaintiff, he took no action to request medical attention for plaintiff.

Defendant Szul did not request medical attention because he knew it would

trigger a formal investigation by the Sheriff and may result in discipline because
   Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 5 of 7 PageID #:5




he left inmates in the “dayroom” without “direct supervision” for a prolonged

period of time in direct violation of department policy.

       23.        The refusal of defendant Szul to facilitate medical attention caused

plaintiff to suffer unnecessary and gratuitous pain.

       24.        Plaintiff waited until about 10:06 am on March 30, 2019 to be

evaluated by Nurse Thomas who observed visible injury to the left side of

plaintiff‟s face and described it as a “severe burn.” Plaintiff was subsequently

treated at Stroger for third degree burns.

       25.        Plaintiff would not have been harmed or would have suffered less

harm if defendant Szul did not abandon Tier 3H or had took action to facilitate

medical attention for plaintiff.

         II.      Municipal claim against Sheriff Dart and Cook County

       26.        Due to safety considerations, a “tier officer” may not enter a tier to

conduct a “security check” without backup. The Sheriff, however, is unable to

designate staff to serve as backup for Division 9 “tier officers” because of grossly

inadequate staffing.

       27.        There is a widespread practice in Division 9 for the “tier officer” to

abandon the tier and serve as backup for another “tier officer” to conduct a

“security check.” When this occurs, inmates are out of sight and hearing of the

security staff.

       28.        The assigned “tier officer” is unable to deter violence and is unable

to be summoned for help should trouble erupt when he (or she) abandons the tier

to provide backup for another “tier officer” to conduct a “security check.”
  Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 6 of 7 PageID #:6




       29.      Policy makers for the Sheriff‟s Office know of this widespread

practice and have failed to take reasonable steps to correction this significant

security gap.

       30.      Plaintiff was injured because Tier 3H was unsupervised at 5:51 pm

when plaintiff was attacked in the dayroom. No correctional officer rendered aid

to plaintiff because of the widespread practice in Division 9 for the “tier officer” to

leave inmates unsupervised in the dayroom for a prolonged period.

       31.      The attack resumed at 5:58 pm by the same inmate because it

was obvious the tier was unsupervised because of the widespread practice of the

“tier officer” to leave the dayroom unsupervised.

       32.      Plaintiff was injured because of this widespread gap in security

and would have suffered less harm if Tier 3H was under “direct supervision”

when detainees were in the “dayroom.”

       33.      Policy makers for the Sheriff‟s Office know of this widespread

practice by Division 9 “tier officers” and have failed to take reasonable measures

to correct this significant security gap. Indeed, the “tier officer” for Tier 3H on

March 30, 2019 acknowledge in a written report that there was “inadequate

staffing/backup” to adequately perform the duties of the “tier officer.”

       34.      Defendants‟ above described policy or widespread equivalent

practice was the moving force behind plaintiff‟s injuries and caused his rights se-

cured by the Fourteenth Amendment to the United States Constitution to be

violated.

       35.      Plaintiff requests trial by jury on his claim for damages.
  Case: 1:21-cv-00783 Document #: 1 Filed: 02/11/21 Page 7 of 7 PageID #:7




       It is therefore respectfully requested that the Court grant appropriate

compensatory damages as well as punitive damages against defendant Szul.

Plaintiff also requests that the costs of this action, including attorney‟s fees, be

taxed against defendant Cook County.

                                        /s/ Patrick W. Morrissey
                                            Patrick W. Morrissey
                                            ARDC No. 6309730
                                            Thomas G. Morrissey, Ltd.
                                            10150 S Western Ave. Ste. Rear
                                            Chicago, IL. 60643
                                            (773) 233-7900
                                            patrickmorrissey1920@gmail.com
                                            an attorney for plaintiff
